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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                    Plaintiff,

        v.                                   Crim. Action No.: 2:21CR04
                                                           (Judge Kleeh)

 ANGELA DAWN YUCHEK,

                    Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 114],
        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        On   October   12,    2021,    the   Defendant    Angela    Dawn   Yuchek

 (“Yuchek”), appeared before United States Magistrate Judge Michael

 J. Aloi and moved for permission to enter a plea of GUILTY to Count

 Five   of    the   Indictment,       charging   her    with    Distribution    of

 Methamphetamine, in violation of Title 21, United States Code,

 Sections     841(a)(1)      and   841(b)(1)(C).         This   Court   referred

 Defendant’s plea of guilty to the magistrate judge for the purpose

 of administering the allocution, pursuant to Federal Rule of

 Criminal Procedure 11, making a finding as to whether the plea was

 knowingly and voluntarily entered, and recommending to this Court

 whether the plea should be accepted. Yuchek stated that she

 understood that the magistrate judge is not a United States

 District    Judge,    and   Yuchek    consented   to    pleading    before    the

 magistrate judge.
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       Based upon Defendant Yuchek’s statements during the plea

 hearing    and   the   Government’s       proffer   establishing   that   an

 independent factual basis for the plea existed, the magistrate

 judge found that Defendant Yuchek was competent to enter a plea,

 that the plea was freely and voluntarily given, that she was aware

 of the nature of the charges against her and the consequences of

 her plea, and that a factual basis existed for the tendered plea.

 The magistrate judge issued a Report and Recommendation Concerning

 Plea of Guilty in Felony Case (“R&R”) [Dkt. No. 114] finding a

 factual basis for the plea and recommending that this Court accept

 Defendant Yuchek’s plea of guilty to Count Five of the Indictment.

       The magistrate judge remanded Defendant Yuchek to the custody

 of the United States Marshals Service.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R.         He further advised that failure to file

 objections would result in a waiver of the right to appeal from a

 judgment of this Court based on the R&R.            Neither the Defendant

 nor the Government filed objections to the R&R.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R

 [Dkt. No. 114], provisionally ACCEPTS Defendant Yuchek’s guilty

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 plea, and ADJUDGES her GUILTY of the crime charged in Count Five

 of the Indictment.

       Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until

 it has received and reviewed the presentence investigation report

 prepared in this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

 following:

       1.     The Probation Officer shall undertake a presentence

 investigation of Yuchek, and prepare a presentence investigation

 report for the Court;

       2.     The Government and Defendant Yuchek shall each provide

 their narrative descriptions of the offense to the Probation

 Officer by November 11, 2021;

       3.     The presentence investigation report shall be disclosed

 to Defendant Yuchek, counsel for Defendant, and the Government on

 or before January 10, 2022; however, the Probation Officer shall

 not disclose any sentencing recommendations made pursuant to Fed.

 R. Crim. P. 32(e)(3);

       4.     Counsel may file written objections to the presentence

 investigation report on or before January 24, 2022;

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       5.     The Office of Probation shall submit the presentence

 investigation report with addendum to the Court on or before

 February 7, 2022; and

       6.     Counsel may file any written sentencing memorandum or

 statements      and   motions   for   departure    from    the   Sentencing

 Guidelines, including the factual basis for the same, on or before

 February 21, 2022.

       The Court further ORDERS that prior to sentencing, counsel

 for Defendant review with her the revised Standard Probation and

 Supervised Release Conditions adopted by this Court on November

 29, 2016, pursuant to the standing order entered by Chief Judge

 Groh, In Re: Revised Standard Probation and Supervised Release

 Conditions, 3:16-MC-56.

       The Court will conduct the Sentencing Hearing for Defendant

 on March 3, 2022, at 2:30 P.M., at the Elkins, West Virginia point

 of holding court. If counsel anticipates having multiple witnesses

 or an otherwise lengthy sentencing hearing, please notify the

 Judge’s chamber staff so that an adequate amount of time can be

 scheduled.

       It is so ORDERED.




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       The Clerk is directed to transmit copies of this Order to

 counsel of record and all appropriate agencies.

 DATED: October 27, 2021


                                     /s/ Thomas S. Kleeh
                                     THOMAS S. KLEEH
                                     UNITED STATES DISTRICT JUDGE




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